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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


CARTER PAGE,

                Plaintiff,

        v.                             No. 20-cv-3460

JAMES COMEY, ANDREW
MCCABE, KEVIN CLINESMITH,
PETER STRZOK, LISA PAGE, JOE
PIENTKA III, STEPHEN SOMMA,
BRIAN J. AUTEN, DEPARTMENT OF
JUSTICE, FEDERAL BUREAU OF
INVESTIGATION, UNITED STATES
OF AMERICA, JOHN DOES 1-10,
JANE DOES 1-10,

                Defendants.




     DEFENDANT STEPHEN SOMMA’S REPLY MEMORANDUM OF LAW
                IN SUPPORT OF MOTION TO DISMISS

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                                        INTRODUCTION

       Plaintiff publicly proclaimed himself the victim of wrongful government surveillance in

April 2017 after learning that the FBI and DOJ were investigating his ties to Russian intelligence

officers. 1 The claims he filed against FBI Agent Stephen Somma more than three years later are

neither timely nor meritorious.

       Plaintiffs’ claims accrued when he learned of the surveillance, not when he learned its

particulars, as plaintiff’s opposition (“Opp.”) now argues.          Plaintiff’s knowledge of the

surveillance triggered the one-year statute of limitations that applies to his claims—but even under

the three-year limitations period plaintiff prefers, his claims are untimely.

       Plaintiff also cannot articulate any plausible claim against Agent Somma for his role in

applying for FISA warrants to investigate whether plaintiff was acting as an agent of a foreign

power. To begin, plaintiff cannot assert this challenge through a Bivens claim: plaintiff proposes

to extend Bivens for the first time to the FISA context, where surveillance was conducted pursuant

to warrants and FISA provides its own remedial structure. The Supreme Court authority plaintiff

himself cites forecloses a new application of Bivens under these circumstances.

       Plaintiff’s efforts to bring claims against Agent Somma under FISA also fail. Plaintiff does

not plausibly allege that Agent Somma intended to engage in unauthorized surveillance, as the

statute requires. In his opposition, plaintiff offers conclusory accusations of Agent Somma’s

supposed bad faith, but the allegations in plaintiff’s complaint depict nothing of the sort, instead

alleging at best that Agent Somma made mistakes in the investigation. Under settled D.C. Circuit

law, mistakes do not establish illegal intent. Moreover, plaintiff does not dispute that he has not

alleged any conduct by Agent Somma relating to two of plaintiff’s four FISA claims, which alone


1
 This reply memorandum uses the same conventions and abbreviations defined in Agent Somma’s
opening memorandum (“Mot.”).



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requires dismissing those claims. And a statutory safe harbor for investigative officers’ acts would

apply to all of Agent Somma’s conduct even if plaintiff had plausibly alleged it did not comport

with FISA in the first place.

       Plaintiffs’ claims against Agent Somma also cannot proceed because qualified immunity

precludes them. Plaintiff’s Bivens claim is foreclosed because no law clearly establishes the

requirements for FISA warrant applications; plaintiff therefore cannot show that any reasonable

officer would find the warrant applications obviously inadequate. As for plaintiff’s FISA claims,

plaintiff concedes (as he must) that the applicable law is not clearly established, and so he argues

that there is no qualified immunity here at all because the privilege is displaced by FISA. But as

the Supreme Court recently stressed, only clear statutory language can displace common law

privileges such as qualified immunity. Plaintiff has identified no such language here.

       Because plaintiff’s claims against Agent Somma are untimely brought, inadequately

alleged, and barred by qualified immunity, the Court should dismiss them with prejudice.

                                          ARGUMENT 2

I.     ALL OF PLAINTIFF’S CLAIMS AGAINST AGENT SOMMA ARE UNTIMELY.

       A court should grant a motion to dismiss when the pleaded facts show the plaintiff’s claim

is time barred. See, e.g., Kursar v. TSA, 751 F. Supp. 2d 154, 166 (D.D.C. 2010). Here, the

complaint conclusively establishes that plaintiff’s claims against Agent Somma accrued more than

three years ago, rendering all of plaintiff’s claims untimely. Mot. 10-14. Plaintiff does not contest,

and thus concedes, the pleaded facts underlying Agent Somma’s limitations defense—namely,

“that plaintiff learned of the surveillance, believed it to be improper, and knew of Agent Somma’s




2
 Agent Somma joins and incorporates by reference the arguments set forth in the other individual
defendants’ reply memoranda that apply to him as well.



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role in it more than three years ago.” Id. at 10. Plaintiff simply incorrectly argues that these facts

do not show that his claims accrued outside the applicable limitations period. See Opp. 64-67. 3

       Under federal law, “a cause of action accrues when the injured party discovers—or in the

exercise of due diligence should have discovered—that it has been injured.” Sprint Commc’ns

Co., L.P. v. FCC, 76 F.3d 1221, 1228 (D.C. Cir. 1998). A cause of action arising from an allegedly

unlawful search (such as the surveillance plaintiff alleges here) accrues when the plaintiff has

notice of the search. See Sparshott v. Feld Ent., Inc., 311 F.3d 425, 429 (D.C. Cir. 2002) (statutory

claim arising out of allegedly unlawful wiretap accrued no later than when plaintiff “received

outside warnings of … wiretapping”); Roark v. United States, 2013 WL 1071778, at *3 (D. Or.

Mar. 12, 2013) (Bivens claims arising out of “search and seizure, or the prior illegal surveillance

upon which the warrant for that search was allegedly based, accrued” on the date of the search).

       The complaint leaves no doubt that plaintiff was fully aware of the surveillance he alleges

more than three years before filing suit. As discussed in Agent Somma’s motion, Mot. 12-14, an

April 2017 Washington Post article incorporated by reference in the complaint quotes plaintiff:

“This confirms all of my suspicions about unjustified, politically motivated government

surveillance.” See Ellen Nakashima et al., FBI Obtained FISA Warrant to Monitor Trump Advisor

Carter Page, Wash. Post (Apr. 11, 2017), https://wapo.st/2pr7kpE [https://perma.cc/X76V-

CJRH], incorporated by reference in AC ¶ 221. Plaintiff does not dispute that he made these

statements and that the complaint incorporates the article by reference. From the face of the




3
  Plaintiff contends that a three-year limitations period applies, but he borrows it from the wrong
local law, D.C.’s residual statute of limitations for unenumerated torts. See Opp. 65. Plaintiff’s
claims most closely resemble libel or invasion of privacy, so a one-year limitations period applies.
See Mot. 10-12. Even if the three-year period applied, however, plaintiff’s claims against Agent
Somma would still be untimely, as explained in the text.



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complaint, then, undisputed facts show that no later than April 11, 2017, plaintiff knew about the

surveillance he alleges and believed it was wrongful. His claims are therefore time barred.

        Plaintiff’s only response fails. Plaintiff contends that his claims did not accrue until he

knew the details of the wrongdoing he alleges—not “until December 2019[] at the earliest when

he obtained information that revealed both the material misrepresentations or omissions in the

FISA warrant applications and which individuals made them or caused them to be made.” Opp.

67. Plaintiff is mistaken. The injury plaintiff alleges here is surveillance, so the statute of

limitations on his claims began to run when he learned of the surveillance, see Mot. 10-14—not

when he learned of “the facts underlying the FISA warrants” that authorized it, Opp. 66.

        “Accrual does not wait until the injured party has access to or constructive knowledge of

all the facts required to support its claim”; rather, “[o]nce the prospective plaintiff is on notice that

it might have a claim, it is required to make a diligent inquiry into the facts and circumstances that

would support that claim.” Sprint, 76 F.3d at 1228. Plaintiff’s own cases confirm that a claim

accrues upon a plaintiff’s discovery of her injury, not the details of the defendants’ underlying

conduct. In Smith v. Nixon, 606 F.2d 1183 (D.C. Cir. 1979), for example, the D.C. Circuit reversed

the district court’s grant of summary judgment to the defendants under the statute of limitations

because disputed issues of fact remained as to whether the defendants “foreclosed the [plaintiffs]

from learning of the wiretap.” Id. at 1191. The dispositive question was when the plaintiffs could

“through the exercise of due diligence have discovered the existence of the wiretap”—the fact that

they were under surveillance, not the circumstances surrounding it. Id. at 1190 (emphasis added).

The court in Berman v. Crook, 293 F. Supp. 3d 48 (D.D.C. 2018), likewise held that the plaintiff’s

knowledge that a search had occurred triggered the limitations period. See id. at 56. The court

rejected the plaintiff’s argument that his claims did not accrue until he had full knowledge of the




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circumstances that purportedly made the search unlawful; rather, his claims accrued no later than

when he became aware of the search and believed it to be improper. See id. (“Mr. Berman was

aware of the search in 2000 and believed at the time that the affidavit contained false allegations.

Thus, his claims … must be dismissed as time barred.”). 4 Plaintiff here undisputedly knew by

April 2017 that he was under surveillance, and believed it to be improper. 5

       Plaintiff also does not allege that he took any steps to try to vindicate his rights until the

purported basis for his claims presented itself in the OIG report. That is fatal to plaintiff’s

arguments, whatever his actual knowledge in April 2017. “A claim accrues when the plaintiff has

inquiry notice, not when the plaintiff has easy access to all the information necessary to support a

viable claim.” Sprint, 76 F.3d at 1229-30; see also Edokobi v. U.S. Gen. Servs. Admin., 2018 WL

4639102, at *4 (D. Md. Sept. 27, 2018) (“Thus, even though Edokobi did not necessarily know

that he could prove the improprieties with the search warrant, where he was aware of the search

and, from the outset, claimed that the search was unjustified, his causes of action relating to the

unlawful search accrued when he received notice of the search.”). Plaintiff gestures toward the

secrecy of the FISA process, but that secrecy undisputedly did not prevent plaintiff from having



4
  Plaintiff also cites Annappareddy v. Lating, 2019 WL 12094026 (D. Md. Oct. 18, 2019), rev’d
in part on other grounds, 996 F.3d 120 (4th Cir. 2021), but in that case the defendants had allegedly
illegally “suppressed information” sought by the plaintiff that would have revealed a Fourth
Amendment violation. Id. at *18. Plaintiff offers no analogous allegations here.
5
  Plaintiff’s argument that his claims did not accrue until he learned the specific identities of the
defendants, see Opp. 67, also fails because he had the information needed to plead his claims. By
April 2017, plaintiff was aware at the very least of the involvement of the institutional defendants.
See Nakashima et al., supra (“[Plaintiff] compared surveillance of him to the eavesdropping that
the FBI and Justice Department conducted against civil rights leader Martin Luther King Jr.”).
Plaintiff could have filed a complaint against those agencies and “unknown John Doe defendants”
to be identified through discovery—as he in fact did. Simmons v. District of Columbia, 750 F.
Supp. 2d 43, 45 (D.D.C. 2011). And plaintiff cannot argue that he did not discover Agent Somma’s
involvement by April 2017 in any event because the complaint itself alleges that plaintiff met with
Agent Somma, a known FBI agent, “during a series of meetings in March 2017.” AC ¶ 32.



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inquiry notice of his claims; plaintiff long ago not only discussed his alleged injury in the

Washington Post but also sent the government a letter attacking the investigation on the same

grounds he raises now. See AC ¶¶ 15, 81. The OIG report at most offered plaintiff additional

details about claims that had already accrued and that are now time barred by any measure. The

Court should dismiss the claims against Agent Somma accordingly.

II.    A BIVENS CAUSE OF ACTION IS UNAVAILABLE HERE.

       Plaintiff cannot sustain a Bivens claim both because doing so would impermissibly extend

Bivens into a new context and because plaintiff has an adequate alternative remedy available (one

the complaint itself invokes). See Mot. 14. Plaintiff’s opposition fails to correct either deficiency.

       First, plaintiff contends that this case does not present a new Bivens context, Opp. 58, but

only by defining the “context”—search and seizure—so generally as to be meaningless. Supreme

Court precedent forecloses plaintiff’s broad definition—the Court itself has rejected attempts to

apply Bivens in novel search-and-seizure contexts. See Hernandez v. Mesa, 140 S. Ct. 735, 743

(2020) (finding new context where plaintiff asserted Fourth Amendment claim for unreasonable

seizure); see also Ziglar v. Abbasi, 137 S. Ct. 1843, 1865 (2017) (“[T]he new-context inquiry is

easily satisfied.”). A case involves a new context if it is factually or legally “different in a

meaningful way from previous Bivens cases.” Abbasi, 137 S. Ct. at 1859. The meaningful

differences here include not only the specific “constitutional right at issue” but also “the statutory

or other legal mandate under which the officer was operating”; “the extent of judicial guidance as

to how an officer should respond to the problem or emergency to be confronted”; and “the risk of

disruptive intrusion by the Judiciary into the functioning of other branches.” Id. at 1860.

       Plaintiff argues that this case is like Bivens itself, but that case involved a warrantless

physical search and seizure, as agents of the Federal Bureau of Narcotics entered the plaintiff’s

home, handcuffed (and later strip-searched) him, and searched the residence for drugs. See Bivens



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v. Six Unknown Fed. Narcotics Agents, 403 U.S. 388, 389 (1971). Here, by contrast, FISA

warrants authorized the surveillance plaintiff complains about. Thus, while Bivens involved “the

Fourth Amendment right to be free of unreasonable warrantless searches and seizures,” this case

“implicates a distinct Fourth Amendment guarantee—that ‘no Warrants shall issue, but upon

probable cause.’” Annappareddy v. Pascale, 996 F.3d 120, 135 (4th Cir. 2021) (quoting U.S.

Const. amend. IV). The narcotics agents in Bivens were not operating under FISA’s legal mandate,

as Agent Somma was—and judicial guidance on warrantless searches is far more extensive than

judicial guidance on FISA warrants. Finally, as the Supreme Court recently reiterated, the “foreign

intelligence surveillance” at issue here “presents special national-security concerns.” FBI v.

Fazaga, 142 S. Ct. 1051, 1057 (2022). National security “is the prerogative of the Congress and

President,” and the risk of disruptive judicial intrusion “provides reason to hesitate before

extending Bivens into this field.” Mesa, 140 S. Ct. at 746-47 (quotation marks omitted). Each of

these meaningful differences is independently fatal to plaintiff’s argument. 6

       Second, plaintiff denies that FISA offers an “alternative remedy” for his alleged harm that

“foreclose[s] a Bivens cause of action here,” Mot. 14, but his response falls flat. Bivens rests on

the premise that a court may recognize an implied cause of action for damages in the rare case

where a plaintiff would have no other way to seek redress for a violation of her rights. See Bivens,

403 U.S. at 410 (Harlan, J., concurring in the judgment) (recognizing an implied cause of action

for damages where no other remedy is plausible and “it is damages or nothing”); see also id. at

396 (majority opinion) (noting absence of express cause of action). Thus, as this Court has held,



6
  Though plaintiff tries to elide these differences, he fails to cite a single case extending Bivens to
similar circumstances. Plaintiff’s cited authorities, like Bivens itself, involved physical searches
and seizures in an investigation of domestic criminal offenses—and no statutory mandate like
FISA. See Meeks v. Larsen, 611 F. App’x 277, 279-80 (6th Cir. 2015); Berman 293 F. Supp. 3d
at 51.



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“the presence of a comprehensive statutory scheme governing” the official conduct at issue—

especially a statutory scheme that “provide[s] a remedy for alleged[]” violations of a plaintiff’s

rights—“counsels strongly against expanding the implied Bivens cause of action.” LKQ Corp. v.

United States, 2019 WL 3304708, at *11 (D.D.C. July 23, 2019). When a plaintiff can seek redress

via an express statutory cause of action that Congress created, there is no need for the judiciary to

invent another cause of action; doing so would frustrate Congress’s intent. See id. Plaintiff here

can (and does) seek relief for the harms he alleges via FISA’s civil cause of action, so he cannot

also bring a claim under an implied Bivens cause of action.

        Plaintiff responds that the doctrine of election of remedies allows him to bring claims under

both FISA and Bivens, see Opp. 60, but the argument misses the point: plaintiff’s Bivens claim

fails in its own right, not because plaintiff is also asserting FISA claims. The fact that plaintiff has

claims under FISA to assert simply reinforces that there is no place for Bivens here. See, e.g.,

LKQ, 2019 WL 3304708, at *11 (dismissing claim that would impermissibly extend Bivens

because of available alternative remedy). Because Congress afforded plaintiff an express cause of

action in FISA’s comprehensive statutory scheme, his Bivens claim should be dismissed.

III.    PLAINTIFF FAILS TO ALLEGE A PLAUSIBLE FISA CLAIM AGAINST AGENT
        SOMMA.

        FISA requires plaintiff to plausibly allege that Agent Somma engaged in electronic

surveillance intending to violate the statute, and the complaint here fails to do so. See Mot. 14-

19. 7 Plaintiff’s opposition does not salvage his FISA claims. Plaintiff tries to ratchet down the

required showing of intent, but he cannot rewrite the statute, and his conclusory allegations of


7
  FISA also proscribes the intentional use or disclosure of information obtained by unauthorized
electronic surveillance, but the complaint does not assert any factual allegations that would support
a “use or disclose” claim against Agent Somma. See Mot. 17 n.5. Plaintiff concedes this point by
failing to address it, and Agent Somma accordingly focuses on plaintiff’s “engages in electronic
surveillance” claim under 50 U.S.C. § 1809(a)(1).



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improper intent fall short. Agent Somma’s alleged conduct falls within FISA’s safe harbor

provision in any event—and plaintiff does not deny that the complaint fails to allege any facts to

support two of his four FISA claims against Agent Somma. All four claims should be dismissed

accordingly.

       A.      FISA’s Civil Cause of Action Does Not Apply to Unintentional Violations of
               the Statute or Aiding and Abetting Violations of the Statute.

       Plaintiff tries to water down the statutory requirement of intent in two ways: first, by eliding

the intent requirement altogether; and second, by rewriting the civil cause of action to apply to not

only a defendant whose own conduct violates the statute, but also a defendant who aids and abets

other individuals’ violations of the statute. Both efforts fail.

       First, FISA’s text and legislative history, as well as case law on analogous statutes, confirm

that FISA’s civil cause of action requires a showing of unlawful intent. See Mot. 15-16. Plaintiff

does not grapple with any of this authority but tries to jettison the intent requirement completely.

Plaintiff contends that “[s]urveillance pursuant to an invalid warrant is necessarily unauthorized

by FISA and gives rise to civil liability under § 1810.” Opp. 15 (citing Fazaga v. FBI, 965 F.3d

1015, 1050 (9th Cir. 2020), rev’d on other grounds, 142 S. Ct. 1051). Not so. An investigator

who conducted surveillance pursuant to a warrant he believed to be valid would not intentionally

engage in surveillance not authorized by the statute. There is simply no support for plaintiff’s

strict liability reading of the statute. Plaintiff offers only Fazaga, but that case addressed

allegations of warrantless surveillance. See id. at 1031 (“If, as the complaint alleges, no warrant

was in fact obtained, such electronic surveillance would constitute a violation of § 1809.”).

Surveillance conducted without any warrant may imply a defendant’s intent to engage in

unauthorized surveillance, but to show that a defendant improperly engaged in surveillance with a




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warrant the plaintiff would have to allege facts showing that the defendant intended to obtain an

invalid warrant that would not lawfully authorize the surveillance. The complaint offers none.

       Second, plaintiff tries to stretch FISA’s civil cause of action far beyond its proper scope,

contending without support that § 1810 applies to not only primary conduct that violates the statute

but also conduct that aids and abets violations of the statute. See Opp. 16-18. According to

plaintiff, because § 1809 is a criminal offense, and 18 U.S.C. § 2 extends criminal liability to those

who aid and abet others’ crimes, FISA’s civil cause of action must extend civil liability to aiding

and abetting as well. As a result, plaintiff contends that he need only show a defendant’s

“recklessness” to recover, even if the defendant “is unaware that he is assisting illegal conduct,”

id. at 17—and that such a showing of recklessness allows him to hold any defendant liable for

every defendant’s conduct, id. at 18.

       This argument stretches the text of the statute beyond recognition. “[W]hen Congress

creates a private cause of action, aiding and abetting liability is not included in that cause of action

unless Congress speaks to it explicitly.” Owens v. BNP Paribas, S.A., 897 F.3d 266, 277 (D.C.

Cir. 2018). Congress did not do so in FISA. Neither § 1810 nor § 1809 mentions aiding and

abetting or any other form of secondary liability, confirming that Congress did not intend to impose

civil liability for aiding and abetting violations of the statute, much less under a lesser showing

than is necessary for primary liability. See Central Bank of Denver, N.A. v. First Interstate Bank

of Denver, N.A., 511 U.S. 164, 177 (1994) (“If … Congress intended to impose aiding and abetting

liability, we presume it would have used the words ‘aid’ and ‘abet’ in the statutory text. But it did

not.”); see also id. at 182-83 (collecting examples of civil statutes with express aiding and abetting

provisions). This omission from both the criminal offense and civil cause of action is especially

significant because Congress did contemplate aiding and abetting in a different provision of FISA,




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which defines an “[a]gent of a foreign power” to include one who “knowingly aids or abets any

person in the conduct of” certain activities on behalf of a foreign power. 50 U.S.C. § 1801(b).

“Congress knew how to impose aiding and abetting liability when it chose to do so,” Central Bank,

511 U.S. at 176—and it chose to allow surveillance of individuals who aid or abet conduct on

behalf of a foreign power, but it chose not to impose liability for aiding and abetting violations of

FISA.

        Plaintiff does not identify any statute that operates as he imagines FISA does. The statutes

most analogous to FISA, the Stored Communications Act (SCA), 18 U.S.C. § 2707, and Wiretap

Act, 18 U.S.C. § 2520, similarly create civil causes of action for violations of their criminal

provisions, and neither civil cause of action currently extends to aiding and abetting. See, e.g.,

Council on Am.-Islamic Rels. Action Network, Inc. v. Gaubatz, 891 F. Supp. 2d 13, 26-27 (D.D.C.

2012) (SCA); In re Toys R Us, Inc., Privacy Litig., 2001 WL 34517252, at *7 (N.D. Cal. Oct. 9,

2001) (Wiretap Act). There is no statutory indication that Congress intended to impose aiding and

abetting liability under FISA, and plaintiff cannot create such liability by cutting and pasting “the

general criminal aiding and abetting statute” into this civil context, where “Congress has not

enacted a general civil aiding and abetting statute.” Owens, 897 F.3d at 277-78 (quotation marks

and citations omitted). Though “it is true that an aider and abettor of a criminal violation of any

provision of” the statute may be held criminally liable under “18 U.S.C. § 2, it does not follow that

a private civil aiding and abetting cause of action must also exist.” Central Bank, 511 U.S. at 190.

        B.     Plaintiff Has Not Plausibly Alleged That Agent Somma Intended to Engage in
               Surveillance Not Authorized by FISA (All Counts).

        The complaint, stripped of its legal conclusions, does not allege facts that would give rise

to a plausible inference that Agent Somma intended to engage in unauthorized surveillance. See

Mot. 16-17. Plaintiff’s opposition—shorn of its own legal conclusions and mischaracterizations




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of the complaint (not to mention the incorporated record)—only confirms the complaint’s fatal

deficiencies.

       Plaintiff seems to claim that Agent Somma intended to engage in surveillance not

authorized by FISA by applying for warrants without sufficient probable cause as the statute

requires. 8 See 50 U.S.C. § 1805(a)(2) (requiring the application to establish “probable cause to

believe that … the target of the electronic surveillance is a foreign power or an agent of a foreign

power”); Opp. 46 (claiming that Agent Somma’s “desired purpose” was for “the FISC [to] ma[k]e

findings of probable cause even though in reality there was none”). But the complaint faults Agent

Somma for alleged missteps in his efforts to develop probable cause—it does not allege that Agent

Somma intentionally proceeded without it. Plaintiff alleges, for example, that when Agent Somma

“first proposed surveillance on” plaintiff, “the FBI’s OGC told [Agent] Somma that he needed

more to establish probable cause for a FISA warrant”—and that Agent Somma proceeded to seek

additional evidence, as OGC instructed. AC ¶¶ 202-03. Plaintiff now contends these allegations

somehow show unlawful intent, see Opp. 42, but they show just the opposite: when told that he

had not yet established probable cause, rather than conduct surveillance anyway, Agent Somma

went back to work on developing a sufficient showing. Plaintiff takes issue with aspects of the

warrant application process, but going through that lengthy process before engaging in any

surveillance reflects Agent Somma’s intent to obtain lawful authorization—not the unlawful intent

FISA requires to sustain a civil claim.




8
  Plaintiff also alleges that Agent Somma violated “FBI procedures,” Opp. 43, and “FISC Rules,”
id. at 45, but these allegations would not support plaintiff’s FISA claims. FISA forbids “electronic
surveillance under color of law except as authorized by this chapter,” 50 U.S.C. § 1809(a)
(emphasis added), and FBI policies and FISC rules are external to FISA’s statutory chapter. Cf.
Kelley v. FBI, 67 F. Supp. 3d 240, 262 n.11 (D.D.C. 2014) (doubting that an “agency’s breach of
its internal policies would give rise to a private right of action under the Privacy Act”).



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       Nor do the missteps plaintiff alleges Agent Somma made in the course of seeking lawful

authorization to conduct surveillance give rise to a plausible inference that Agent Somma never

intended to obtain valid authorization at all. See Mot. 16-17. Although plaintiff’s opposition

baldly accuses Agent Somma of “repeated outright lying,” Opp. 45 n.7 (citing no examples), the

complaint does not allege that Agent Somma intentionally made a single false statement. Rather,

the complaint alleges omissions and statements purportedly lacking details or context, none of

which can be construed to suggest that Agent Somma flagrantly intended to violate the law. See

AC ¶¶ 201-10. Plaintiff alleges, for example, that Agent Somma “did not accurately describe the

nature and extent of the information the FBI received” about plaintiff’s relationship with the CIA.

Id. ¶ 205. Plaintiff draws this allegation from the OIG report, which reveals that Agent Somma in

fact shared his recollection of that information with a DOJ attorney and offered to “get the language

[the FBI] was provided” with if the attorney wanted the exact quote. OIG at 157. To give another

example, the complaint alleges that Agent Somma “answered only the second part” of a DOJ

attorney’s two-part question. AC ¶ 207. But failing to fully answer a question immediately is

hardly indicative of illicit intent, particularly when (as the complaint itself alleges), a complete

response was soon obtained. Id.

       These alleged omissions fall far short of “a violation so patently egregious and unlawful

that anyone undertaking the conduct should have known it unlawful.” Toolasprashad v. Bureau

of Prisons, 286 F.3d 576, 584 (D.C. Cir. 2002) (addressing analogous Privacy Act). Plaintiff does

not dispute that his admitted ties to Russian intelligence officers—which plaintiff maintained even

after learning that these officers were indicted for their attempts to recruit him as an asset—raised

legitimate suspicions about his conduct. See Mot. 3-4, 17; OIG at 61-62. That valid basis for

suspicion makes it especially implausible that Agent Somma secretly harbored an illegitimate




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purpose and went through the process of obtaining lawful authorization to conduct surveillance

while privately intending to conduct unauthorized surveillance. Plaintiff stresses that the outcome

of the investigation did not reveal him to be a Russian agent, but “that does not mean that it was

obviously improper to conduct the investigation in the first place, or that defendants should have

known that their conduct was illegal.” Kelley v. FBI, 67 F. Supp. 3d 240, 262 (D.D.C. 2014). The

OIG report specifically found no evidence of intentional misconduct by Agent Somma, OIG at

377, and the allegations in the complaint do not permit a plausible inference to the contrary.

Plaintiff’s FISA claims against Agent Somma thus must be dismissed. 9

        C.      FISA’s Statutory Safe Harbor Applies to All of Agent Somma’s Alleged
                Conduct.

        Plaintiff’s FISA claims also fail because the statute’s safe harbor provision—which applies

when “the defendant was a law enforcement or investigative officer engaged in the course of his

official duties and the electronic surveillance was authorized by and conducted pursuant to a search

warrant or court order of a court of competent jurisdiction,” 50 U.S.C. § 1809(b)—shields Agent

Somma from liability for all the conduct plaintiff alleges. See Mot. 18-19. The allegations in the

complaint undisputedly reflect that Agent Somma was a law enforcement or investigative officer;

that any electronic surveillance he conducted was in the course of his official duties and authorized

by a FISA warrant; and that the FISC is a court of competent jurisdiction, see Opp. 53-54,

establishing that the defense is satisfied.

        Plaintiff in response argues that the statutory defense requires a showing of subjective good

faith and insists that the individual defendants did not act in good faith. See id. This argument

doubly fails. First, the requirement plaintiff grafts onto the defense lacks any support in the


9
 As Agent Somma argued in his motion, even if Bivens could be extended here, plaintiff’s Bivens
claim against Agent Somma would have to be dismissed for the same reasons as his FISA claims.
See Mot. 17 n.6.



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statutory text. Plaintiff appeals to legislative history, but the statute speaks for itself. Second, even

if the defense required a distinct showing of subjective good faith, the complaint does not plausibly

allege that Agent Somma acted in anything other than good faith, as discussed above. See supra

at 11-14. Plaintiff contends that “the entire tenor of the [complaint] is that none of the Individual

Defendants acted in good faith,” Opp. 54, but the “tenor” plaintiff invokes cannot compensate for

the lack of well-pleaded factual allegations in the complaint that would give rise to a plausible

inference of bad faith. Should any of plaintiff’s FISA claims survive the threshold hurdles plaintiff

faces, the Court should dismiss them as barred by this statutory defense, as it evinces Congress’s

intent to allow investigative officers like Agent Somma to perform their official duties without

fear of litigation. Cf. John K. Maciver Inst. for Pub. Pol’y, Inc. v. Schmitz, 885 F.3d 1004, 1014

(7th Cir. 2018) (affirming dismissal based on analogous defense under SCA).

        D.      Plaintiff Concedes That Counts 3 and 4 Against Agent Somma Must Be
                Dismissed.

        The OIG report makes clear that Agent Somma did not surveil plaintiff pursuant to the

third and fourth warrants, and indeed was no longer working on the investigation at all by the time

the third warrant issued on April 7, 2017. See Mot. 19. The complaint does not allege otherwise

and plaintiff’s opposition does not argue otherwise. See Opp. 45-46 (not discussing any conduct

by Agent Somma after March 2017). Plaintiff thus has conceded that Counts 3 and 4, which allege

that the defendants surveilled him pursuant to the third and fourth warrants, must be dismissed as

to Agent Somma. See Felter v. Salazar, 679 F. Supp. 2d 1, 3 n.2 (D.D.C. 2010) (concluding that

where “the plaintiffs’ opposition did not address the defendants’ motion to dismiss as to Counts 1

through 7,” “the defendants’ motion is deemed conceded as to Counts 1 through 7”).




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IV.    PLAINTIFF HAS NOT PLAUSIBLY ALLEGED THAT HIS INJURIES ARE
       FAIRLY TRACEABLE TO AGENT SOMMA’S CONDUCT.

       A plaintiff seeking redress for an injury in federal court must show “a causal connection

between the injury and the conduct complained of,” Lujan v. Defs. of Wildlife, 504 U.S. 555, 561

(1992)—that is, the plaintiff must show that the alleged “injury … fairly can be traced to the

challenged action of the defendant,” Simon v. E. Ky. Welfare Rts. Org., 426 U.S. 26, 41 (1976).

Plaintiff here fails to allege that the reputational injuries he claims are fairly traceable to Agent

Somma’s challenged conduct because those alleged harms stem from reports on the investigation

leading up to the alleged surveillance rather than from the surveillance itself—and the alleged

surveillance is the only conduct within the scope of FISA. See Mot. 19-21.

       Plaintiff responds that the complaint “specifically alleges under the heading of each Count

that [plaintiff] suffered damages as a result of that legal claim and specifies the type of damages is

seeking [sic] for that specific cause of action.” Opp. 60-61. The trouble for plaintiff is that the

complaint does not describe any damages suffered “as a result” of the conduct he challenges as

unlawful. See Gill v. Dep’t of Justice, 2016 WL 3982450, at *8 (D.D.C. July 22, 2016) (finding

that the plaintiff had “adequately claim[ed] a concrete injury—the loss of his security clearance—

[but] fail[ed] to allege facts that link the loss of the security clearance to the alleged violation of

FISA’s notice requirement”). Plaintiff does not deny that the reputational injuries he claims here—

that he “was falsely portrayed as a traitor to his country” and so on, AC ¶ 262—allegedly stem

from disclosures about the investigation leading up to the surveillance, such as the existence of the

warrants. See Mot. 20. But his FISA claims are necessarily confined to the surveillance itself, and

because plaintiff does not allege that the injury he claims results from that conduct, he has failed

to allege the requisite causal connection. Cf. Kelley, 67 F. Supp. 3d at 262 n.12 (stressing that “the

Privacy Act is not implicated whenever an individual suffers an undesirable consequence”).




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       Plaintiff also protests that “how exactly [his] specific damages relate to which of his claims

and the detailed delineation of damage amounts and kinds are issues to be explored in discovery,

not resolved on motions to dismiss.” Opp. 60. But this response is similarly beside the point.

Plaintiff need not detail amounts of damages to survive a motion to dismiss, but he must plausibly

allege an injury fairly traceable to the allegedly unlawful conduct rather than some other conduct

or the acts of third parties. Plaintiff here has failed to do so, especially as to Agent Somma; indeed,

plaintiff’s opposition does not address Agent Somma’s argument that the causal chain between his

own acts and plaintiff’s asserted injuries is too attenuated and speculative to support plaintiff’s

claims. See Mot. 21. His claims against Agent Somma fail accordingly.

V.     AGENT SOMMA IS ENTITLED TO QUALIFIED IMMUNITY ON ALL OF
       PLAINTIFF’S CLAIMS.

       Qualified immunity shields Agent Somma against all of plaintiff’s claims because the

complaint does not allege that Agent Somma violated any statutory or constitutional rights that

were clearly established at the time of the alleged violation. See Mot. 22-24. Plaintiff contends

that the individual defendants’ entitlement to qualified immunity cannot be determined until the

facts are litigated, see Opp. 63-64, but plaintiff has it backwards. “Qualified immunity is ‘an

immunity from suit rather than a mere defense to liability.’” Pearson v. Callahan, 555 U.S. 223,

237 (2009) (quoting Mitchell v. Forsyth, 472 U.S. 511, 526 (1985)). The Supreme Court has

“made clear that the driving force behind creation of the qualified immunity doctrine was a desire

to ensure that insubstantial claims against government officials will be resolved prior to discovery”

and “repeatedly ha[s] stressed the importance of resolving immunity questions at the earliest

possible state in litigation.” Id. at 231-32 (quotation marks and alteration omitted). Plaintiff bears

the “burden to show that the particular right in question—narrowly described to fit the factual

pattern confronting the officers—was clearly established,” and a complaint that fails to plausibly




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allege a violation of a clearly established right should be dismissed. Dukore v. District of

Columbia, 799 F.3d 1137, 1145 (D.C. Cir. 2015) (citation omitted); see also, e.g., Jones v. Horne,

634 F.3d 588 (D.C. Cir. 2011) (affirming dismissal of a complaint that failed to do so). Just so

here.

        Qualified immunity defeats plaintiff’s Bivens claim, and plaintiff’s only response misstates

the applicable standard. See Opp. 61. When an officer conducts a search pursuant to a warrant,

qualified immunity shields the officer from civil liability unless “it is obvious that no reasonably

competent officer would have concluded that a warrant should issue.” Malley v. Briggs, 475 U.S.

335, 341 (1986) (emphases added); accord Messerschmidt v. Millender, 565 U.S. 535, 547 (2012).

Qualified immunity attaches, in other words, whenever there is any room for debate over whether

the warrant application establishes probable cause. See Malley, 475 U.S. at 341 (“[I]f officers of

reasonable competence could disagree on this issue, immunity should be recognized.”); see also

Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011) (to overcome qualified immunity, “existing

precedent must have placed the statutory or constitutional question beyond debate”). As discussed,

the complaint does not allege that Agent Somma made any false statements; it alleges only that

Agent Somma omitted information plaintiff deems important. No law clearly establishes the

extent of disclosures required in a FISA warrant application, and it is far from obvious that the

warrant applications here were inadequate—particularly the applications for the two warrants

issued while Agent Somma worked on the investigation, which no one (other than plaintiff) has

ever deemed insufficient.

        As for the FISA claims, plaintiff contends that the statutory defense precludes the

individual defendants from invoking qualified immunity, citing Berry v. Funk, 146 F.3d 1003,

1013 (D.C. Cir. 1998). See Opp. 62. But Berry held that qualified immunity is not an available




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defense to claims under a different statute, Title III. 10 The D.C. Circuit has since cited Berry for

the proposition that qualified immunity is an available defense to claims under other statutes. See

Rasul v. Myers, 512 F.3d 644, 668 n.20 (D.C. Cir. 2008) (“Both the Supreme Court and our court

have recognized qualified immunity is available to counter not only constitutional claims but also

certain statutory claims.” (citing Berry, 146 F.3d at 1003)), vacated and remanded on other

grounds, 555 U.S. 1083 (2008).

       Neither the D.C. Circuit nor any other court has ever extended Berry beyond Title III, and

this Court should not be the first to do so. Since Berry, the Supreme Court has repeatedly cautioned

against narrowing the availability of qualified immunity. See, e.g., City of Escondido v. Emmons,

139 S. Ct. 500, 503 (2019) (collecting cases); White v. Pauly, 137 S. Ct. 548, 551 (2017) (per

curiam) (explaining that the Court frequently issues “opinions reversing federal courts in qualified

immunity cases” because “qualified immunity is important to society as a whole” and its benefits

are “effectively lost if a case is erroneously permitted to go to trial” (quotation marks omitted));

City & County of San Francisco v. Sheehan, 575 U.S. 600, 611 n.3 (2015) (explaining that “the

Court often corrects lower courts when they wrongly subject individual officers to liability,” and

collecting cases). Berry especially should not be extended beyond Title III to FISA; as the

Supreme Court recently stressed, the two statutes address very different concerns. See Fazaga,

142 S. Ct. at 1057 (“Electronic surveillance for ordinary criminal law enforcement purposes is




10
  While Berry binds this Court as to Title III, Agent Somma respectfully submits that the case was
wrongly decided and raises this objection to preserve it for appellate review. Cf., e.g., Chao v.
Amalgamated Transit Union, 141 F. Supp. 2d 13, 19 (D.D.C. 2001). As other courts have agreed,
the statutory affirmative defense in Title III does not displace qualified immunity. See Tapley v.
Collins, 211 F.3d 1210, 1216 (11th Cir. 2000); Blake v. Wright, 179 F.3d 1003, 1012 (6th Cir.
1999); John K. Maciver Inst. for Pub. Pol’y, Inc. v. Schmitz, 885 F.3d 1004, 1015 (7th Cir. 2018);
see also Gilliam v. Dep’t of Justice, 128 F. Supp. 3d 134, 144-46 (D.D.C. 2015) (concluding that
qualified immunity defeated claims under Title III).



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governed by Title III … , but foreign intelligence surveillance presents special national-security

concerns, and Congress therefore enacted FISA to provide special procedures for use when the

Government wishes to conduct such surveillance.”). And while plaintiff argues that “the common

law defense of qualified immunity does not apply” here in light of the express statutory defense,

Opp. 62, the Court also recently reiterated that such a common law “privilege should not be held

to have been abrogated or limited unless Congress has at least used clear statutory language,”

Fazaga, 142 S. Ct. at 1060-61. “The absence of any statutory reference to” qualified immunity in

FISA “is strong evidence that the availability of the privilege was not altered in any way.” Id. at

1060.

        Even if Berry’s reasoning applied beyond the context of Title III, the reasoning would not

support the conclusion that FISA repudiated qualified immunity. The D.C. Circuit in Berry

reasoned that Congress in Title III had “provide[d] for a good faith defense that is more limited

than the qualified immunity good faith doctrine the judiciary has devised,” so Congress had

effectively “occupied the field.” Berry, 146 F.3d at 1013 (quotation marks omitted). FISA, in

contrast, does not require a subjective showing. 50 U.S.C. § 1809(b); see supra at 14-15. Because

Congress did not narrow the defense to FISA claims as it did in Title III it did not evince an intent

to displace qualified immunity under FISA. Thus, even if plaintiff had stated any claims against

Agent Somma, the face of the complaint shows that qualified immunity would defeat them all.

See Mot. 22-24.

                                         CONCLUSION

        All claims against Stephen Somma should be dismissed with prejudice.




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Dated: April 1, 2022                Respectfully submitted,


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